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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
v. : Criminal No. 20- 106 (RC)

LIRIM SYLEJMANI,

also known as
Abu Sulayman al-Kosovi,

Defendant.
STATEMENT OF OFFENSE

1. To support the plea of guilty by defendant Lirim Sylejmani to Count III of the
Indictment in the above-captioned matter which charges a violation of Title 18, United States Code
Section, 2339D — Receiving military-type training from a foreign terrorist organization, the
government’s evidence would prove beyond a reasonable doubt the following facts:

Elements of the Offense
Count Ill

2. First, that the defendant received military-type training from or on behalf of a
designated foreign terrorist organization at the time of the training;

Second, that ISIS is a designated foreign terrorist organization and the defendant
had knowledge that ISIS is a designated foreign terrorist organization, that the organization has
engaged or engages in terrorist activity or terrorism; and

Third, that the defendant did so knowingly.

Factual Basis for the Guilty Plea

3. The Islamic State of Iraq and al-Sham, known as ISIS, is a foreign terrorist
organization designated by the United States Department of State under this alias on or about May
15, 2014. In 2015, the defendant, Lirim Sylejmani, a naturalized American citizen living in

Kosovo, decided to travel with his family to Syria to join ISIS. He registered with the terrorist
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organization, completed ISIS training, and engaged in at least one battle against United States
Coalition Forces. After multiple years of living under ISIS rule, the defendant was captured by
the Syrian Democratic Forces (“SDF”). While in prison, the defendant spoke with multiple news
outlets, described further below, and with Federal Bureau of Investigation (“FBI”) agents about
his experience with ISIS. Specifically, on April 21, 2019, FBI agents interviewed the defendant
at an SDF prison, where, after he waived his Miranda rights, the defendant spoke truthfully about
his journey to join ISIS, his training and experiences in the Islamic State as described below.

4, In or about November of 2015, the defendant contacted an ISIS member named
Abu Adam, and the two of them began to plan for the defendant and his family’s crossing into
Syria. Abu Adam helped the defendant find an active ISIS member to provide Tazkiyah (official

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vouching). Once he received Tazkiyah, the defendant and his family secured fake Syrian
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identification cards, flew to another town in Turkey, voluntarily surrendered their United States-——————
passportg, and met with a smuggler who took them across the border to the Islamic State on or
about November 13, 2015.

5, Once across the border, the defendant was separated from his family and the
defendant was placed in a guest house with other ISIS recruits and given his ISIS name: Abu
Sulayman al-Kosovi. He was then transported to Tabqah, Syria, then Raqqah, Syria, and finally,
to Mosul, Iraq. In Mosul, the defendant began his ISIS training. This included physical endurance
conditioning and joint Sharia and military training. Military training was in both a classroom and
outside with weapons. The defendant received an AK-47 and learned how to assemble and shoot

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it. He was also taught how to use the following weapons: PK Machine Gun, M-16s, and rocket S

propeHed-erenmadts tRPGs}. Additionally, the training covered military ground tactics, such as

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how to move through open areas and urban areas. Importantly, as part of the training, the defendant
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pledged bayat (allegiance) to Abu Bakr Al-Baghdadi, the leader of ISIS, and to the ISIS
organization, in front of an Iraqi ISIS member.

6. This training lasted 21 days, following which the defendant received his own AK-
47, four magazines for the weapon, a belt for the magazines, as well as two grenades. — ‘The
defendant understood the equipment had been issued for his ISIS military assignment. The
defendant was then assigned to a battalion in Iraq and transferred with his family to Tall Kayf,
Iraq.

7 In Tall Kayf, the defendant quickly learned that ISIS was not providing any of the
promised services or compensation. He refused to work for this time and stayed home
communicating with family over Viber and Surespot. The FBI, with the help of Kosovo police,
has secured and translated some of these conversations, which span most of 2016. When the
Kosovo police first interviewed the defendant’s family, they secured screen shots of a family
member’s phone. This included text conversations between a family member and the defendant.
First, on January 15, 2016, the defendant stated, “We are in the Islamic State,” and specified that
he is somewhere near Mosul. Further, when the family member asked him what he was doing in
the Islamic State, he responded that he was not working at the moment, but he stated that “I had
some training to finish and now I am looking,” thereby corroborating his admissions of training
with ISIS.

8. During the time he was engaging in these communications with his family in
Kosovo, the defendant was eventually compensated by ISIS in Iraqi Dinar and transferred to the
ISIS headquarters in Manbij, Syria. This was around the time of the SDF’s Manbij offensive

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between May and August 2016. In May 2016, the defendant reported for a ribat (guard) duty on ote
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the front line of the Manbij offensive. The defendant brought his gun belt, AK-47 fnagaines nd L, §,
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sqeousitel to his ribat assignment. During a battle with Coalition Forces he was hit with shrapnel

in his legs. As he ran from the fight after suffering his injury, he threw his belt, Sasa aoe

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twe-erenades-onthe groundiorunfaster The defendant did not admit to firing any of his weapons.
9, Eventually, the defendant was stationed in Mayadin, Syria, sent on another ribat

assignment, and paid more money by ISIS. The unit soon demanded his transfer to Palmyra, Syria.
He refused this transfer and stated that he deserted ISIS at this time. As the SDF and Coalition
Forces closed in on ISIS’s last strongholds, the defendant surrendered himself and his family into
SDF custody on February 27, 2019.

10. The defendant was sent to an SDF prison while his family was taken to an Internally
Displaced Persons (IDP) camp. A few weeks later, he was interviewed by The New Yorker
magazine for an article titled “The Dangerous Dregs of ISIS.” In this article, the defendant

admitted to joining ISIS but stated that he never engaged in battle. Specifically, he stated:

“I shot about twenty bullets when I was doing the training in Mosul. And I
shot one bullet in a house, by accident, in the ceiling. That’s as much fighting as
I did,” Sulejmani insisted. “I carried the gun since the first day when I came to
Dar al-Islamiyyah [House of Islam] until I left Baghouz. Towards the end it
was rusted, but my goal wasn't to come fight. It was making hegira. I was
pushed a certain way, which I went. I liked to give it a try. It just didn't work.”
He shrugged.

ll. During their subsequent interview of the defendant, FBI agents inquired about this
article in The New Yorker. In response, the defendant admitted these were his words and signed
and dated each relevant page of the article, writing, “tru Statement.”

12. Following the defendant’s initial interview with the FBI, he remained in SDF

custody. During this period, he spoke to a number of other news sources, including CBS News

and ABC News, identifying himself on video and by name, and explaining that he moved to the

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region to live under the rule of the Islamic State. In some of these interviews, he claimed that he

never fired a shot in combat.

13.

The defendant acknowledges and admits that ISIS is a designated foreign terrorist

organization under federal law and that he knowingly and willfully received military type training

from ISIS.

Respectfully submitted,

Matthew M. Graves
United States Attorney

Brenda J. Johnson

Steven Wasserman

Kimberly Paschall

Assistant United States Attorneys
National Security Section

601 D Street, NW, 5" Floor
D.C. Bar No. 370737

D.C. Bar No. 45325]

D.C. Bar 1015665

Brenda. Johnson@usdoj.gov
Steve. Wasserman@usdoj.gov
Kimberly.Paschall@usdoj.gov
(202) 252-7801
(202)252-7719

(202) 252-2650
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DEFENDANT'S ACKNOWLEDGMENT

After consulting with my attorneys, Sabrina Shroff and Ubong Akpan, and pursuant to
the plea agreement entered into between me, Lirim Sylejmani, and the United States Attorney’s
Office for the District of Columbia, I hereby state and agree that the foregoing Statement of
Offense is true and accurate. No one has forced or compelled me to agree to this Statement of
Offense. I have agreed to this Statement of Offense because the facts set forth above are true and
accurate to the best of my knowledge.

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Date LIRIM SYLEJYIAN]

DEFENSE COUNSEL’S ACKNOWLEDGMENT

I am Lirim Sylejmani’s attorney. I have carefully reviewed the foregoing Statement of
Offense with him. To my knowledge, his decision to stipulate and agree to these facts is an

informed and voluntary one.
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Date Sabrina Shroff, Esquire
Ubong Akpan, Assistant Federal Defender
Counsel for the Defendant

